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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

 ASSOCIATION OF NEW JERSEY         )
 RIFLE & PISTOL CLUBS, INC., et    ) Civil Action No. 3:18-cv-10507-PGS-
 al.                               ) LHG
                                   )
                Plaintiffs,        )
                                   )
      v.
                                   )
 MATTHEW PLATKIN, et al.
                                   )
                                   )
                Defendants.
                                   )
 _________________________________
                                   )
                                   )
 MARK CHEESEMAN, et al.
                                   )
                Plaintiffs,        )
                                   ) Civil Action No. 3:22-cv-4360-PGS-
      v.                           ) LHG
 MATTHEW PLATKIN, et al.           )
                                   )
                Defendants.        )
 _________________________________ )
                                   )
 BLAKE ELLMAN, et al.              )
                                   )
                Plaintiffs,        )
      v.                           )
 MATTHEW PLATKIN, et al.           )
                                   ) Civil Action No. 1:22-cv-4397-PGS-
                Defendants.        ) LHG
                                   )
                                   )


       NOTICE OF MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY




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 TO:    Daniel M. Vannella Esq.
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        PLEASE TAKE NOTICE, that on a date tp be determined by the Court, Plaintiffs in

 18-cv-10507 and 22-cv-4397 (collectively “Plaintiffs”) shall move before the Honorable Peter G.

 Sheridan, U.S.D.J., at the United States Courthouse, Clarkson S. Fisher Federal Building and

 U.S. Courthouse, 402 E. State Street, Trenton, New Jersey 08608 for an Order excluding certain

 expert testimony.

        PLEASE TAKE FURTHER NOTICE that in support of the within motion, Plaintiffs

 shall rely upon the Declaration of Daniel L. Schmutter and Brief

        PLEASE TAKE FURTHER NOTICE that Plaintiffs request oral argument.

        PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted

 herewith.

 Dated: October 6, 2022                            Respectfully submitted,
                                                   s/ Daniel L. Schmutter
                                                   Daniel L. Schmutter
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